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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION



UNITED STATES OF AMERICA

vs.                                            Case No. 3:09cr94/MCR

JOSE M. ESTEVES

                                     /


                        ACCEPTANCE OF PLEA OF GUILTY
      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, and subject to this Court’s
consideration of the Plea Agreements pursuant to Fed. R. Crim. P. 11, the plea of guilty
of the Defendant, JOSE M. ESTEVES, to Counts I and VI of the Second Superseding
Indictment is hereby ACCEPTED. All parties shall appear before this Court for sentencing
as directed.
      DONE and ORDERED this 22nd day of February, 2010.




                                         s/   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         UNITED STATES DISTRICT JUDGE
